  20-10410-hcm Doc#102-1 Filed 06/11/20 Entered 06/11/20 19:45:07 Exhibit A - Austin
                      VIIE Lien Notice & Invoices Pg 1 of 27


EXHIBIT "A"
20-10410-hcm Doc#102-1 Filed 06/11/20 Entered 06/11/20 19:45:07 Exhibit A - Austin
                    VIIE Lien Notice & Invoices Pg 2 of 27
           20-10410-hcm Doc#102-1 Filed 06/11/20 Entered 06/11/20 19:45:07 Exhibit A - Austin
                               VIIE***
                                    LienMEMBER
                                          Notice &COPY
                                                  Invoices***
                                                           Pg 3 of 27     STATE OF TEXAS

                                                                                                       NOTICE LETTER TO OWNER AND
                                                                                                         ORIGINAL CONTRACTOR



                                    7196 9002 4000 3737 7346
                                                                                                     RETURN RECEIPT

                                                                                                     Bildrs No. 5398646
                                                                                                     7196 9002 4000 3737 7346
                                            Bildrs No: 5398646                                       7196 9002 4000 3737 7360
            EIGHTFOLD DEVELOPMENT LLC                                                                7196 9002 4000 3737 7377
            211 E 7TH ST STE 620                                                                     7196 9002 4000 3737 7384
            AUSTIN TX 78701-3208




    Re:     Labor, Services, Equipment or Material Supplied:
          PLUMBING/HVAC/PIPE/WATERWORKS/APPLIANCES/INSTALLATION SVS/LIGHTING/CONSTR MTLS
           Owner: EIGHTFOLD DEVELOPMENT LLC, 211 E 7TH ST STE 620, AUSTIN TX 78701-3208
           Contractor: PANACHE DEVELOPMENT, P O BOX 26539, AUSTIN, TX 78755-0539, 512-345-7000

    For Project Located At: AUSTIN VIIE, 3443 ED BLUESTEIN BLVD, AUSTIN, TX 78721

    Work described above was performed during the month(s) of August 2019,September 2019 by us, in connection with the
    referenced project. The sum of $64,661.77 is currently unpaid and owing for such work, including any agreed retainage.

    If this claim remains unpaid you as the owner may be personally liable or your property subjected to a lien unless
    payment is withheld from the above mentioned original contractor for the payment of this claim or unless the claim is
    otherwise paid or settled.

    Further, we hereby make demand on you for payment under section 53.083 and request that you forward to us any funds
    held for the original contractor to pay this claim, unless the contractor disputes this claim as required by law.

    Further, in compliance with Section 53.107(a)(2), claimant requests owner to give the undersigned written notice of either
    termination of or abandonment of performance of the original contract.




FERGUSON ENTERPRISES LLC, on its behalf and as an agent for its subsidiaries and affiliates #16049
2683 WEST EULESS BLVD
EULESS, TX 76040
817-540-1888




Title: BICA Representative
11/15/2019
BICA 1-800 722-2422
Owner: EIGHTFOLD DEVELOPMENT LLC, 211 E 7TH ST STE 620, AUSTIN TX 78701-3208
Orig Contr: PANACHE DEVELOPMENT, P O BOX 26539, AUSTIN, TX 78755-0539, 512-345-7000
Customer: PANACHE DEVELOPMENT & CONST INC, 00061*368440, PO BOX 26539, AUSTIN, TX 78755, 512-345-7000
Job No: 368440
Owner: 3443 ZEN GARDEN LP, 3443 ED BLUESTEIN BLVD, AUSTIN TX 78721-2902




                                                                                                                     Form Rev: 01/12 MM
            20-10410-hcm Doc#102-1 Filed 06/11/20 Entered 06/11/20 19:45:07 Exhibit A - Austin
                                VIIE Lien Notice & Invoices PgEMAIL
                                                               4 of DUPLICATE
                                                                    27        INVOICE



                                                                          Deliver To: AMANDA 512-788-1107
 FERGUSON ENTERPRISES LLC #61                                             From:       Devin Mathis
 PO BOX 847411                                                            Comments:
 DALLAS, TX 75284-7411




        Please Contact With Questions:
        512-248-4050                                       Invoice Number                Customer              Page


                                                            CM873888                      368440                 1

   Please refer to Invoice Number when making payment and remit to:                      TOTAL DUE --->              -143.27

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC
        AUSTIN VIIE
        PO BOX 26539
        AUSTIN, TX 78755
Ship        Sell         Tax           Customer            Sales                 Job Name                    Invoice           Batch
Whse        Whse        Code         Order Number         Person                                               Date

 1869       1869       TX1869       EF072919TFI124         CRS                      Y                       08/01/2019          CM0

Ordered     Shipped       Item Number                       Description                      Unit Price     UM             Amount
      25          25   BB112KCF           LF 3/8 COMP X 3/8 OD PLYM OI 7216276                     -5.294   EA                -132.35
                       Cust PO:EF072919TF Job Name: EIGHTFOLD DEVELOPMENT
                                          INV# 7216256/7216276
                                          WRONG RTS
                                                    Invoice Sub-Total                                                          -132.35
                                                     Tax                                                                        -10.92
                                                     Total Amt                                                                 -143.27



                                                                                        TOTAL DUE --->                         -143.27




ALL ACCOUNTS ARE DUE AND PAYABLE PER THE CONDITIONS AND TERMS OF THE ORIGINAL INVOICE. ALL PAST DUE AMOUNTS
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                                 VIIE Lien Notice & Invoices PgEMAIL
                                                                5 of DUPLICATE
                                                                     27        INVOICE



                                                                           Deliver To: AMANDA 512-788-1107
 FERGUSON ENTERPRISES LLC #61                                              From:       Devin Mathis
 PO BOX 847411                                                             Comments:
 DALLAS, TX 75284-7411




        Please Contact With Questions:
        512-248-4050                                        Invoice Number              Customer               Page


                                                              7208339                    368440                   1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->                1372.82

         FERGUSON ENTERPRISES LLC #61
         PO BOX 847411
         DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
         PANACHE DEVLPMNT & CONST INC                                       PANACHE DEVELOPEMENT
         AUSTIN VIIE                                                        3443 ED BLUESTEIN
         PO BOX 26539                                                       EIGHTFOLD DEVELOPMENT
         AUSTIN, TX 78755                                                   AUSTIN, TX 78721
Ship         Sell         Tax          Customer             Sales                Job Name                    Invoice             Batch
Whse         Whse        Code        Order Number          Person                                              Date

 1869        1869        TX1869     EF072619TFSF11          CRS         EIGHTFOLD DEVELOPMENT               08/12/2019          240102

Ordered      Shipped        Item Number                      Description                    Unit Price      UM              Amount

                                          BUILDING F AREA DRN

                                          PLASTIC BOX
        10          10   N1200            12X12 C/BASIN W/2 OUT                                    25.205    EA                  252.05

                                          METAL GRATE
        10          10   N1213            12X12 CI GRATE                                           90.423    EA                  904.23

                                          OUTLETS / CAPS
        10          10   N1266            6 UNIV OUT                                                5.018    EA                   50.18
        20          20   N1206            UNIV PLUG F/ C/BASIN                                      3.087    EA                   61.74
                                                    Invoice Sub-Total                                                           1268.20
                                                     Tax                                                                         104.62
                                                     Total Amt                                                                  1372.82



                                                                                       TOTAL DUE --->                           1372.82




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                                                               6 of DUPLICATE
                                                                    27        INVOICE



                                                                          Deliver To: AMANDA 512-788-1107
 FERGUSON ENTERPRISES LLC #61                                             From:       Devin Mathis
 PO BOX 847411                                                            Comments:
 DALLAS, TX 75284-7411




        Please Contact With Questions:
        512-248-4050                                       Invoice Number               Customer             Page


                                                             7260791                    368440                 1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->             243.56

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC                                       PANACHE DEVELOPEMENT
        AUSTIN VIIE                                                        3443 ED BLUESTEIN
        PO BOX 26539                                                       EIGHTFOLD DEVELOPMENT
        AUSTIN, TX 78755                                                   AUSTIN, TX 78721
Ship        Sell        Tax            Customer            Sales                 Job Name                   Invoice             Batch
Whse        Whse       Code          Order Number         Person                                              Date

 1869       1869       TX1869      EF080519TFSF11          CRS          EIGHTFOLD DEVELOPMENT             08/15/2019            240458

Ordered     Shipped       Item Number                      Description                      Unit Price    UM                Amount
       1           1   MUL067331          12 PVC HW SWR GXG 45 ELL                              225.000   EA                    225.00
                                                   Invoice Sub-Total                                                            225.00
                                                    Tax                                                                          18.56
                                                    Total Amt                                                                   243.56



                                                                                      TOTAL DUE --->                            243.56




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                                VIIE Lien Notice & Invoices PgEMAIL
                                                               7 of DUPLICATE
                                                                    27        INVOICE



                                                                            Deliver To: AMANDA 512-788-1107
 FERGUSON ENTERPRISES LLC #61                                               From:       Devin Mathis
 PO BOX 847411                                                              Comments:
 DALLAS, TX 75284-7411




       Please Contact With Questions:
       512-248-4050                                          Invoice Number              Customer               Page


                                                               7266855                    368440                   1

   Please refer to Invoice Number when making payment and remit to:                      TOTAL DUE --->                757.77

       FERGUSON ENTERPRISES LLC #61
       PO BOX 847411
       DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
       PANACHE DEVLPMNT & CONST INC                                          PANACHE DEVELOPEMENT
       AUSTIN VIIE                                                           3443 ED BLUESTEIN
       PO BOX 26539                                                          EIGHTFOLD DEVELOPMENT
       AUSTIN, TX 78755                                                      AUSTIN, TX 78721
Ship        Sell        Tax             Customer            Sales                 Job Name                    Invoice               Batch
Whse        Whse       Code           Order Number         Person                                               Date

 245         245       TX245             ADAM                CRS         EIGHTFOLD DEVELOPMENT               08/15/2019            240450

Ordered     Shipped       Item Number                         Description                    Unit Price      UM                 Amount
                                           ** MITZI LIGHTING **
       1           1   DISPLAYLIGHTING     DSPLY LIGH ITEM                                          50.000    EA                     50.00
                                           HUDH182701PN

       1           1   DISPLAYLIGHTING     DSPLY LIGH ITEM                                          50.000    EA                     50.00
                                           HUDH181701LPB

       1           1   DISPLAYLIGHTING     DSPLY LIGH ITEM                                          50.000    EA                     50.00
                                           HUDH130102PNBK

       1           1   DISPLAYLIGHTING     DSPLY LIGH ITEM                                          50.000    EA                     50.00
                                           HUDHL155201PNBK

                                           ** FREESTANDING TUBS **
       1           1   SP776286*245                                                                500.000                          500.00

                                        ** FS REFRIGERATOR **
       1           1   DISPLAYAPPLIANCE DSPLY APPL ITEM                                              0.000    EA                      0.00
                                        Serial # 111111111
                                        NON-FUNCTIONING JENNAIR
                                        REFRIGERATOR. ADAM WANTS
                                        TO USE IT AS A DISPLAY IN
                                        A MODEL HOME.
                                                    Invoice Sub-Total                                         700.00
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                              VIIE LienInvoice
                                            Notice  & Invoices Customer
                                               Number          Pg 8 of 27 Page


                                                   7266855                 368440               2


                                               Tax                                                               57.77
                                               Total Amt                                                        757.77



                                                                             TOTAL DUE --->                     757.77




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                                                               9 of DUPLICATE
                                                                    27        INVOICE



                                                                          Deliver To: AMANDA 512-788-1107
 FERGUSON ENTERPRISES LLC #61                                             From:       Devin Mathis
 PO BOX 847411                                                            Comments:
 DALLAS, TX 75284-7411




       Please Contact With Questions:
       512-248-4050                                        Invoice Number               Customer                  Page


                                                             7284836                     368440                    1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->                 136.47

       FERGUSON ENTERPRISES LLC #61
       PO BOX 847411
       DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
       PANACHE DEVLPMNT & CONST INC                                        COUNTER PICK UP
       AUSTIN VIIE                                                         700 E SAINT ELMO
       PO BOX 26539                                                        AUSTIN, TX 78745-1228
       AUSTIN, TX 78755
Ship        Sell          Tax          Customer            Sales                 Job Name                     Invoice               Batch
Whse        Whse         Code        Order Number         Person                                                Date

 245         245         TX245       EF081919TFF37         CRS          EIGHTFOLD DEVELOPMENT                08/19/2019            240663

Ordered     Shipped         Item Number                     Description                     Unit Price       UM                 Amount

                                          BUILDIING H COURTYARD
                                          SLEEVES

    100            100   P40PP10          4X10 FT PVC DWV S40 PE PIPE                              126.068    C                     126.07
                                                    Invoice Sub-Total                                                               126.07
                                                     Tax                                                                             10.40
                                                     Total Amt                                                                      136.47



                                                                                      TOTAL DUE --->                                136.47




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                                                              10 ofDUPLICATE
                                                                    27       INVOICE



                                                                          Deliver To: AMANDA 512-788-1107
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 PO BOX 847411                                                            Comments:
 DALLAS, TX 75284-7411




        Please Contact With Questions:
        512-248-4050                                       Invoice Number               Customer              Page


                                                             7316292                    368440                   1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->               1569.64

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC                                       PANACHE DEVELOPEMENT
        AUSTIN VIIE                                                        3443 ED BLUESTEIN
        PO BOX 26539                                                       EIGHTFOLD DEVELOPMENT
        AUSTIN, TX 78755                                                   AUSTIN, TX 78721
Ship        Sell        Tax            Customer            Sales                 Job Name                   Invoice             Batch
Whse        Whse       Code          Order Number         Person                                              Date

 1869       1869       TX1869     EF082719TFPSF18          CRS          EIGHTFOLD DEVELOPMENT              09/03/2019          241930

Ordered     Shipped       Item Number                       Description                     Unit Price     UM              Amount

                                          BUILDING J

                                          NO OVERFLOW
        2          2   WRD308             8 NH ROOF DRN HI VOL                                   185.000    EA                  370.00
                                          WITH OVERFLOW
        2          2   SP-WRD308-R        8 NH ROOF DRN - EOD OVERFLOW                           220.000    EA                  440.00

                                          NO OVERFLOW
        2          2   WRD306             6 NH HI VOL ROOF DRN W/ POLY DOME                      145.000    EA                  290.00
                                          WITH OVERFLOW
        2          2   SP-WRD306-R        DRN                                                    175.000    EA                  350.00
                                                    Invoice Sub-Total                                                          1450.00
                                                    Tax                                                                         119.64
                                                    Total Amt                                                                  1569.64



                                                                                      TOTAL DUE --->                           1569.64




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                                                              11 ofDUPLICATE
                                                                    27       INVOICE



                                                                             Deliver To: AMANDA 512-788-1107
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        Please Contact With Questions:
        512-248-4050                                       Invoice Number                 Customer                Page


                                                                7327691                    368440                    1

   Please refer to Invoice Number when making payment and remit to:                       TOTAL DUE --->                 13779.79

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC                                          PANACHE DEVELOPEMENT
        AUSTIN VIIE                                                           3443 ED BLUESTEIN
        PO BOX 26539                                                          AUSTIN, TX 78721
        AUSTIN, TX 78755
Ship        Sell        Tax            Customer            Sales                   Job Name                     Invoice               Batch
Whse        Whse       Code          Order Number         Person                                                  Date

 1869       1869       TX1869        EF082919TFF36         CRS            EIGHTFOLD DEVELOPMENT                09/13/2019            242715

Ordered     Shipped       Item Number                          Description                    Unit Price       UM              Amount

                                          ***WATER HEATERS***
                                          29-1/2 DIA
        2          2   SCSB12027SFEB3N    CCY 119G 27KW 480V 3PH WHTR ALUM                          5769.230    EA                  11538.46
                                          Serial # 116203600
                                          Serial # 116203599

                                          ***PANS***
                                          SQUARE PAN
        2          2   SHMDP263636        36X36 26GA DRN PAN                                          27.875    EA                     55.75

                                          ***RECIRC PUMPS***
        2          2   T007SF5            1/25HP SS FLG CART CIRC                                    290.620    EA                    581.24
        2          2   T110252SF          LF 1 FREEDOM FLG SET NPT SS                                 40.275    EA                     80.55
        2          2   T2653              DIG TIMER W/ DUST CVR                                      136.800    EA                    273.60
                                                    Invoice Sub-Total                                                               12529.60
                                                     Freight                                                                          200.00
                                                     Tax                                                                             1050.19
                                                     Total Amt                                                                      13779.79



                                                                                         TOTAL DUE --->                             13779.79


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                               VIIE Lien Notice & Invoices Pg EMAIL
                                                              12 ofDUPLICATE
                                                                    27       INVOICE



                                                                          Deliver To: AMANDA 512-788-1107
 FERGUSON ENTERPRISES LLC #61                                             From:       Devin Mathis
 PO BOX 847411                                                            Comments:
 DALLAS, TX 75284-7411




        Please Contact With Questions:
        512-248-4050                                       Invoice Number               Customer               Page


                                                              7327692                   368440                    1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->                2501.48

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC                                       PANACHE DEVELOPEMENT
        AUSTIN VIIE                                                        3443 ED BLUESTEIN
        PO BOX 26539                                                       AUSTIN, TX 78721
        AUSTIN, TX 78755
Ship        Sell        Tax            Customer            Sales                 Job Name                    Invoice             Batch
Whse        Whse       Code          Order Number         Person                                               Date

 1869       1869       TX1869      EF082919TFTI17          CRS          EIGHTFOLD DEVELOPMENT               09/13/2019          242715

Ordered     Shipped       Item Number                  Description                          Unit Price      UM              Amount
                                          WWW WATER HEATERS

                                       ***SMALLER HEATER***
                                       480V, 1 PHASE, 3 KW
                                       18" DIA
        3          3   SPCE171OMSA3480 15G 3KW 480V 1PH SB WHTR ALUM                             690.640     EA                 2071.92
                                       Serial # 116203636
                                       Serial # 116203635
                                       Serial # 116203637

                                          PANS
        3          3   O34152             22 ALUM WHTR PAN W/ 1 FTG                                12.974    EA                   38.92
                                                   Invoice Sub-Total                                                            2110.84
                                                    Freight                                                                      200.00
                                                    Tax                                                                          190.64
                                                    Total Amt                                                                   2501.48



                                                                                      TOTAL DUE --->                            2501.48




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                               VIIE Lien Notice & Invoices Pg EMAIL
                                                              13 ofDUPLICATE
                                                                    27       INVOICE



                                                                          Deliver To: AMANDA 512-788-1107
 FERGUSON ENTERPRISES LLC #61                                             From:       Devin Mathis
 PO BOX 847411                                                            Comments:
 DALLAS, TX 75284-7411




        Please Contact With Questions:
        512-248-4050                                       Invoice Number               Customer              Page


                                                             7366514                    368440                  1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->              212.17

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC                                       PANACHE DEVELOPEMENT
        AUSTIN VIIE                                                        3443 ED BLUESTEIN
        PO BOX 26539                                                       AUSTIN, TX 78721
        AUSTIN, TX 78755
Ship        Sell        Tax            Customer            Sales                 Job Name                   Invoice              Batch
Whse        Whse       Code          Order Number         Person                                              Date

 1869       1869       TX1869      EF091219TFSF10          CRS          EIGHTFOLD DEVELOPMENT              09/13/2019            242715

Ordered     Shipped       Item Number                      Description                      Unit Price     UM                Amount
    200          200   SDR35SWPP20        4X20 SDR35 SW PVC SWR PIPE                               0.980   FT                    196.00
                                                   Invoice Sub-Total                                                             196.00
                                                    Tax                                                                           16.17
                                                    Total Amt                                                                    212.17



                                                                                      TOTAL DUE --->                             212.17




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                                                               14 ofDUPLICATE
                                                                     27       INVOICE



                                                                          Deliver To: AMANDA 512-788-1107
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 PO BOX 847411                                                            Comments:
 DALLAS, TX 75284-7411




        Please Contact With Questions:
        512-248-4050                                       Invoice Number               Customer                 Page


                                                             7384373                    368440                    1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->                17910.79

         FERGUSON ENTERPRISES LLC #61
         PO BOX 847411
         DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
         PANACHE DEVLPMNT & CONST INC                                      PANACHE DEVELOPEMENT
         AUSTIN VIIE                                                       3443 ED BLUESTEIN
         PO BOX 26539                                                      EIGHTFOLD DEVELOPMENT
         AUSTIN, TX 78755                                                  AUSTIN, TX 78721
Ship         Sell         Tax          Customer            Sales                 Job Name                    Invoice              Batch
Whse         Whse        Code        Order Number         Person                                               Date

 1869        1869        TX1869      EF091719TFJ24         CRS          EIGHTFOLD DEVELOPMENT               09/18/2019           243074

Ordered      Shipped        Item Number                     Description                     Unit Price      UM              Amount

                                          ROOF DRAINS BUILDING J
                                          CAST IRON

                                          3RD FLOOR
     70            0     NHP1010          10X10 NH CI SOIL PIPE                                              C                      0.00
    100          100     NHPU10           6X10 NH CI SOIL PIPE                                   1921.950    C                   1921.95
      5            4     NHSS10           10 NH CI SHRT SWEEP 1/4 BEND                            258.165    EA                  1032.66
      5            5     NH9U             6 NH CI 1/4 BEND                                         45.945    EA                   229.73
      2            0     NHSR10U          10X6 NH CI SHRT RED                                                EA                     0.00

                                          2ND FLOOR
    150             0    NHP1010          10X10 NH CI SOIL PIPE                                              C                      0.00
     10             0    NHSS10           10 NH CI SHRT SWEEP 1/4 BEND                                       EA                     0.00
      5             0    NH410            10 NH CI 1/8 BEND                                                  EA                     0.00
      1             1    NHSR1210         12X10 NH CI SHRT RED                                    189.360    EA                   189.36

                                          1ST FLOOR
        20          20   NHP1210          12X10 NH CI SOIL PIPE                                  7062.750    C                   1412.55
        40           0   NHP1010          10X10 NH CI SOIL PIPE                                              C                      0.00
         4           0   NHSS10           10 NH CI SHRT SWEEP 1/4 BEND                                       EA                     0.00

                                          4TH FLOOR
    240          240     NHPX10           8X10 NH CI SOIL PIPE                                   2994.750    C                   7187.40
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                                               Number            15 of 27
                                                              Customer    Page


                                                     7384373               368440                 2


Ordered    Shipped       Item Number                     Description                Unit Price    UM       Amount
      40         40   NHPU10           6X10 NH CI SOIL PIPE                            1921.950    C           768.78
       3          0   NH410            10 NH CI 1/8 BEND                                          EA             0.00
       2          2   NHY10            10 NH CI WYE                                    380.655    EA           761.31
       1          1   NHYX             8 NH CI WYE                                     171.495    EA           171.50
       1          1   NHYU             6 NH CI WYE                                      72.855    EA            72.86
       4          4   NHSR10X          10X8 NH CI SHRT RED                             101.250    EA           405.00
       2          0   NHSR10U          10X6 NH CI SHRT RED                                        EA             0.00
       1          1   NHSRXU           8X6 NH CI SHRT RED                                46.260   EA            46.26
       2          2   NHSRXP           8X4 NH CI SHRT RED                                41.535   EA            83.07

                                       MISC
   1000       1000    GATRD10          1/2X10 Z/PLT ATR                                   0.441       FT        441.00
     12         12    FNWHNG2Z12       1/2 13 HEX NUT ZN A563 GR 2 50PK                   4.482       PK         53.78
     12         12    FNWFLWZ12        1/2 X 1-3/8 FLT WSHR ZN 50PK                       4.126       PK         49.51
    300        200    FNW7203PD        1/2 BLAC JR UNIV BEAM CLMP                         2.063       EA        412.60

                                       BANDS
     12         12    PFNHCU           6 STD NH COUP                                      7.947       EA         95.36
    140          0    PFNHC10          10 NH COUP                                                     EA          0.00
     50         50    PFNHCX           8 STD NH COUP                                     15.019       EA        750.95
     70         50    PFNHCU           6 STD NH COUP                                      7.947       EA        397.35
     20         20    PFNHCP           4 STD NH COUP                                      3.140       EA         62.80
                                                 Invoice Sub-Total                                            16545.78
                                                 Tax                                                           1365.01
                                                 Total Amt                                                    17910.79



                                                                             TOTAL DUE --->                   17910.79




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                                                                    27       INVOICE



                                                                          Deliver To: AMANDA 512-788-1107
 FERGUSON ENTERPRISES LLC #61                                             From:       Devin Mathis
 PO BOX 847411                                                            Comments:
 DALLAS, TX 75284-7411




        Please Contact With Questions:
        512-248-4050                                       Invoice Number               Customer               Page


                                                             7389070                    368440                    1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->                1149.37

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC                                       PANACHE DEVELOPEMENT
        AUSTIN VIIE                                                        3443 ED BLUESTEIN
        PO BOX 26539                                                       EIGHTFOLD DEVELOPMENT
        AUSTIN, TX 78755                                                   AUSTIN, TX 78721
Ship        Sell        Tax            Customer            Sales                 Job Name                    Invoice            Batch
Whse        Whse       Code          Order Number         Person                                               Date

 1869       1869       TX1869      EF0911819TFF35          CRS          EIGHTFOLD DEVELOPMENT               09/19/2019          243306

Ordered     Shipped       Item Number                       Description                     Unit Price      UM              Amount

                                          BREAK ROOM 1 WATER HEATER
        5          5   C9F                3/4 WROT CXC 90 ELL 7/8 OD                                1.222    EA                   6.11
        2          2   CTF                3/4 WROT CXCXC TEE 7/8 OD                                 2.245    EA                   4.49
        1          1   P40S9G             1 PVC S40 SXS 90 ELL                                      0.360    EA                   0.36
        1          1   P40SCG             1 PVC S40 SXS COUP                                        0.284    EA                   0.28
        1          1   CFAF               3/4 WROT CXF ADPT                                         2.484    EA                   2.48
        1          1   WLFN36M1F          LF 3/4 VAC REL VLV                                        7.462    EA                   7.46
        2          2   PFXCCS33           LF 3/4 FIP X SWT DIELEC UNION                             5.670    EA                  11.34
        1          1   PFXT5              LF 2 GAL THRML EXP TANK                                  27.188    EA                  27.19

                                          BREAK ROOM 2 WATER HEATER
        7          7   C9F                3/4 WROT CXC 90 ELL 7/8 OD                                1.222    EA                   8.55
        2          2   CTF                3/4 WROT CXCXC TEE 7/8 OD                                 2.245    EA                   4.49
        1          1   P40S9G             1 PVC S40 SXS 90 ELL                                      0.360    EA                   0.36
        1          1   P40SCG             1 PVC S40 SXS COUP                                        0.284    EA                   0.28
        1          1   CFAF               3/4 WROT CXF ADPT                                         2.484    EA                   2.48
        1          1   WLFN36M1F          LF 3/4 VAC REL VLV                                        7.462    EA                   7.46
        2          2   PFXCCS33           LF 3/4 FIP X SWT DIELEC UNION                             5.670    EA                  11.34
        1          1   PFXT5              LF 2 GAL THRML EXP TANK                                  27.188    EA                  27.19

                                          BREAK ROOM 3 WATER HEATER
        5          5   C9F                3/4 WROT CXC 90 ELL 7/8 OD                                1.222    EA                   6.11
        2          2   CTF                3/4 WROT CXCXC TEE 7/8 OD                                 2.245    EA                   4.49
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                                           Notice  & Invoices Pg
                                               Number            17 of 27
                                                              Customer    Page


                                                    7389070                  368440                  2


Ordered    Shipped       Item Number                      Description                 Unit Price     UM       Amount
       1          1   P40S9G           1 PVC S40 SXS 90 ELL                                  0.360   EA             0.36
       1          1   P40SCG           1 PVC S40 SXS COUP                                    0.284   EA             0.28
       1          1   CFAF             3/4 WROT CXF ADPT                                     2.484   EA             2.48
       1          1   WLFN36M1F        LF 3/4 VAC REL VLV                                    7.462   EA             7.46
       2          2   PFXCCS33         LF 3/4 FIP X SWT DIELEC UNION                         5.670   EA            11.34
       1          1   PFXT5            LF 2 GAL THRML EXP TANK                              27.188   EA            27.19
      20         20   P40BEPG20        1X20 PVC S40 BE PIPE                                 29.332    C             5.87

                                       MECHANICAL ROOMS
      8          8    PFXCCS66         LF 1-1/2 FIP X SWT DIELEC UNION                     19.835        EA       158.68
      4          4    CTK              2 WROT CXCXC TEE 2-1/8 OD                           22.284        EA        89.14
      4          1    CRCKF            2X3/4 WROT CXC RED COUP                             10.296        EA        10.30
      4          4    CRCKJ            2X1-1/2 WROT CXC RED COUP                            9.392        EA        37.57
      2          2    CTKKG            2X2X1 WROT CXCXC TEE                                17.359        EA        34.72
      6          6    CUG              LF 1 WROT CXC UNION                                 12.418        EA        74.51
      4          4    FNWX416G         LF 1 BRS 600# WOG 2PC SWT FP BV                     13.844        EA        55.38
      2          2    PFX31SG          LF 1 BRS 125# SWT SWG CHK VLV                       13.696        EA        27.39
      2          2    CTG              1 WROT CXCXC TEE 1-1/8 OD                            6.727        EA        13.45
      2          2    FNWXBTWN         LFN 3-1/2 BRS ECON THRM WELL                        21.096        EA        42.19
      2          2    FNW9S30240AT     9 30-240 ADJ ANG THRM                               49.264        EA        98.53
      4          4    CTGGF            1X1X3/4 WROT CXCXC TEE                               6.881        EA        27.52
      2          2    FNWX416J         LF 1-1/2 BRS 600# WOG 2PC SWT FP BV                 32.348        EA        64.70
      2          2    CTKKG            2X2X1 WROT CXCXC TEE                                17.359        EA        34.72
      6          6    CMAG             1 WROT CXM ADPT                                      4.889        EA        29.33
      2          2    PFXT12           LF 4.4 GAL THRML EXP TANK                           38.112        EA        76.22
                                                   Invoice Sub-Total                                             1061.79
                                                 Tax                                                               87.58
                                                 Total Amt                                                       1149.37



                                                                               TOTAL DUE --->                    1149.37




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 PO BOX 847411                                                            Comments:
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                                                            7389070-1                   368440                    1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->                33.44

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC                                       PANACHE DEVELOPEMENT
        AUSTIN VIIE                                                        3443 ED BLUESTEIN
        PO BOX 26539                                                       EIGHTFOLD DEVELOPMENT
        AUSTIN, TX 78755                                                   AUSTIN, TX 78721
Ship        Sell        Tax            Customer            Sales                 Job Name                    Invoice              Batch
Whse        Whse       Code          Order Number         Person                                               Date

 1869       1869       TX1869      EF0911819TFF35          CRS          EIGHTFOLD DEVELOPMENT               09/20/2019           243422

Ordered     Shipped       Item Number                       Description                     Unit Price      UM                Amount

                                          BREAK ROOM 1 WATER HEATER

                                          BREAK ROOM 2 WATER HEATER

                                          BREAK ROOM 3 WATER HEATER

                                          MECHANICAL ROOMS
        3          3   CRCKF              2X3/4 WROT CXC RED COUP                                  10.296    EA                    30.89
                                                   Invoice Sub-Total                                                               30.89
                                                    Tax                                                                             2.55
                                                    Total Amt                                                                      33.44



                                                                                      TOTAL DUE --->                               33.44




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                                                              19 ofDUPLICATE
                                                                    27       INVOICE



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 PO BOX 847411                                                            Comments:
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        512-248-4050                                       Invoice Number               Customer              Page


                                                             7396547                    368440                  1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->              184.10

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC                                       COUNTER PICK UP
        AUSTIN VIIE                                                        2551 NORTH MAYS
        PO BOX 26539                                                       ROUND ROCK, TX 78665-2416
        AUSTIN, TX 78755
Ship        Sell         Tax           Customer            Sales                 Job Name                   Invoice              Batch
Whse        Whse        Code         Order Number         Person                                              Date

 1869       1869       TX1869      EF0911819TFF35          CRS          EIGHTFOLD DEVELOPMENT              09/20/2019            243422

Ordered     Shipped        Item Number                        Description                   Unit Price     UM                Amount
       2           2   WLFN36M1F          LF 3/4 VAC REL VLV                                      10.191   EA                     20.38
       4           4   PFXCCS55           LF 1-1/4 FIP X SWT DIELEC UNION                         17.957   EA                     71.83
      10          10   C9F                3/4 WROT CXC 90 ELL 7/8 OD                               1.222   EA                     12.22
       4           4   CFAF               3/4 WROT CXF ADPT                                        2.484   EA                      9.94
       2           2   CFRGF              1X3/4 WROT FTGXC RED                                     2.245   EA                      4.49
       2           2   CFRKH              2X1-1/4 WROT FTGXC RED                                   9.828   EA                     19.66
       2           2   CFRKF              2X3/4 WROT FTGXC RED                                    10.557   EA                     21.11
       2           2   CFRJH              1-1/2X1-1/4 WROT FTGXC RED                               5.220   EA                     10.44
                                                      Invoice Sub-Total                                                          170.07
                                                    Tax                                                                           14.03
                                                    Total Amt                                                                    184.10



                                                                                      TOTAL DUE --->                             184.10




ALL ACCOUNTS ARE DUE AND PAYABLE PER THE CONDITIONS AND TERMS OF THE ORIGINAL INVOICE. ALL PAST DUE AMOUNTS
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             20-10410-hcm Doc#102-1 Filed 06/11/20 Entered 06/11/20 19:45:07 Exhibit A - Austin
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                                                               20 ofDUPLICATE
                                                                     27       INVOICE



                                                                          Deliver To: AMANDA 512-788-1107
 FERGUSON ENTERPRISES LLC #61                                             From:       Devin Mathis
 PO BOX 847411                                                            Comments:
 DALLAS, TX 75284-7411




        Please Contact With Questions:
        512-248-4050                                       Invoice Number               Customer               Page


                                                            7384373-1                   368440                    1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->                24894.10

         FERGUSON ENTERPRISES LLC #61
         PO BOX 847411
         DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
         PANACHE DEVLPMNT & CONST INC                                      PANACHE DEVELOPEMENT
         AUSTIN VIIE                                                       3443 ED BLUESTEIN
         PO BOX 26539                                                      EIGHTFOLD DEVELOPMENT
         AUSTIN, TX 78755                                                  AUSTIN, TX 78721
Ship         Sell         Tax          Customer            Sales                 Job Name                    Invoice              Batch
Whse         Whse        Code        Order Number         Person                                               Date

 1869        1869        TX1869      EF091719TFJ24         CRS          EIGHTFOLD DEVELOPMENT               09/24/2019           243553

Ordered      Shipped        Item Number                     Description                     Unit Price      UM              Amount

                                          ROOF DRAINS BUILDING J
                                          CAST IRON

                                          3RD FLOOR
        70          90   NHP1010          10X10 NH CI SOIL PIPE                                  5087.700    C                   4578.93
         1           1   NHSS10           10 NH CI SHRT SWEEP 1/4 BEND                            258.165    EA                   258.17
         2           2   NHSR10U          10X6 NH CI SHRT RED                                      86.355    EA                   172.71

                                          2ND FLOOR
    150          150     NHP1010          10X10 NH CI SOIL PIPE                                  5087.700    C                   7631.55
     10           10     NHSS10           10 NH CI SHRT SWEEP 1/4 BEND                            258.165    EA                  2581.65
      5            5     NH410            10 NH CI 1/8 BEND                                       169.110    EA                   845.55

                                          1ST FLOOR
        40          40   NHP1010          10X10 NH CI SOIL PIPE                                  5087.700    C                   2035.08
         4           4   NHSS10           10 NH CI SHRT SWEEP 1/4 BEND                            258.165    EA                  1032.66

                                          4TH FLOOR
         3           3   NH410            10 NH CI 1/8 BEND                                       169.110    EA                   507.33
         2           2   NHSR10U          10X6 NH CI SHRT RED                                      86.355    EA                   172.71

                                          MISC
    100          100     FNW7203PD        1/2 BLAC JR UNIV BEAM CLMP                                2.063    EA                   206.30
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                                                             Customer    Page


                                                   7384373-1               368440                 2


Ordered   Shipped     Item Number                       Description                 Unit Price    UM       Amount

                                      BANDS
    140       142   PFNHC10           10 NH COUP                                         19.826       EA       2815.29
     20        20   PFNHCU            6 STD NH COUP                                       7.947       EA        158.94
                                                Invoice Sub-Total                                             22996.87
                                                Tax                                                            1897.23
                                                Total Amt                                                     24894.10



                                                                             TOTAL DUE --->                   24894.10




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 PO BOX 847411                                                            Comments:
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                                                            CM896636                      368440                   1

   Please refer to Invoice Number when making payment and remit to:                      TOTAL DUE --->                -206.86

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC
        AUSTIN VIIE
        PO BOX 26539
        AUSTIN, TX 78755
Ship        Sell        Tax            Customer            Sales                 Job Name                     Invoice            Batch
Whse        Whse       Code          Order Number         Person                                                Date

 1869       1869       TX1869      EF0911819TFF35          CRS                      .                        09/24/2019           CM0

Ordered     Shipped       Item Number                           Description                  Unit Price      UM              Amount
       8           8   PFXCCS66             LF 1-1/2 FIP X SWT DIELEC OI 7389070                  -19.835    EA                 -158.68
                       Cust PO:EF0911819T   Job Name: EIGHTFOLD DEVELOPMENT
        4          4   CFRKJ                2X1-1/2 WROT FTGXC RED          OI                      -5.530    EA                  -22.12
        1          1   CRCKF                2X3/4 WROT CXC RED COUP OI 7389070                     -10.296    EA                  -10.30
                       Cust PO:EF0911819T   Job Name: EIGHTFOLD DEVELOPMENT
                                            7389070
                                            RTS
                                                        Invoice Sub-Total                                                        -191.10
                                                     Tax                                                                          -15.76
                                                     Total Amt                                                                   -206.86



                                                                                        TOTAL DUE --->                           -206.86




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        Please Contact With Questions:
        512-248-4050                                         Invoice Number              Customer               Page


                                                               7404044                    368440                   1

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         FERGUSON ENTERPRISES LLC #61
         PO BOX 847411
         DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
         PANACHE DEVLPMNT & CONST INC                                        PANACHE DEVELOPEMENT
         AUSTIN VIIE                                                         3443 ED BLUESTEIN
         PO BOX 26539                                                        EIGHTFOLD DEVELOPMENT
         AUSTIN, TX 78755                                                    AUSTIN, TX 78721
Ship         Sell         Tax            Customer            Sales                Job Name                    Invoice               Batch
Whse         Whse        Code          Order Number         Person                                              Date

 1869        1869        TX1869       EF092319TFSF10         CRS         EIGHTFOLD DEVELOPMENT               09/25/2019            243785

Ordered      Shipped        Item Number                       Description                    Unit Price      UM                 Amount

                                            FRENCH DRAIN F LOBBY

        40          40   P40PPBEP20         4X20 PVC S40 BE PERF PIPE                              181.868    C                      72.75
         3           3   PDWVSTP            4 PVC DWV SAN TEE                                       10.306    EA                     30.92
         3           3   PDWVCP             4 PVC DWV COUP                                           3.179    EA                      9.54
         2           2   PDWV4P             4 PVC DWV 45 ELL                                         6.325    EA                     12.65
         3           3   PDWV9P             4 PVC DWV 90 ELL                                         7.615    EA                     22.85
         3           3   P40SCAPP           4 PVC S40 SOC CAP                                        3.846    EA                     11.54
         1           1   AXXXXXXXX          3X300 FT N/WOV FAB                                      31.820    EA                     31.82
         1           1   O31015             32 OZ PVC REG CLR CMNT                                   8.813    EA                      8.81
         1           1   O30758             32 OZ PURP PRMR - NSF LISTED                             5.263    EA                      5.26
                                                      Invoice Sub-Total                                                             206.14
                                                       Tax                                                                           17.01
                                                       Total Amt                                                                    223.15



                                                                                        TOTAL DUE --->                              223.15




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 FERGUSON ENTERPRISES LLC #61                                             From:       Devin Mathis
 PO BOX 847411                                                            Comments:
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        Please Contact With Questions:
        512-248-4050                                       Invoice Number               Customer               Page


                                                             7403985                    368440                    1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->                43.25

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC                                       PANACHE DEVELOPEMENT
        AUSTIN VIIE                                                        3443 ED BLUESTEIN
        PO BOX 26539                                                       EIGHTFOLD DEVELOPMENT
        AUSTIN, TX 78755                                                   AUSTIN, TX 78721
Ship        Sell        Tax            Customer            Sales                 Job Name                    Invoice              Batch
Whse        Whse       Code          Order Number         Person                                               Date

 1869       1869       TX1869       VI092419TFF36          CRS          EIGHTFOLD DEVELOPMENT               09/30/2019           244107

Ordered     Shipped       Item Number                       Description                     Unit Price      UM                Amount

                                          LINEAR DRAIN SH41565
        1          1   SH399922           *CVR* PVC DRAIN FLANGE COUPLING                          39.950    EA                    39.95
                                                    Invoice Sub-Total                                                              39.95
                                                    Tax                                                                             3.30
                                                    Total Amt                                                                      43.25



                                                                                      TOTAL DUE --->                               43.25




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        512-248-4050                                       Invoice Number               Customer               Page


                                                             7399037                    368440                    1

   Please refer to Invoice Number when making payment and remit to:                     TOTAL DUE --->                13563.29

        FERGUSON ENTERPRISES LLC #61
        PO BOX 847411
        DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
        PANACHE DEVLPMNT & CONST INC                                       PANACHE DEVELOPEMENT
        AUSTIN VIIE                                                        3443 ED BLUESTEIN
        PO BOX 26539                                                       EIGHTFOLD DEVELOPMENT
        AUSTIN, TX 78755                                                   AUSTIN, TX 78721
Ship        Sell        Tax            Customer            Sales                 Job Name                    Invoice               Batch
Whse        Whse       Code          Order Number         Person                                               Date

 1869       1869       TX1869        EF092319TF35          CRS          EIGHTFOLD DEVELOPMENT               10/07/2019            244752

Ordered     Shipped       Item Number                       Description                     Unit Price      UM              Amount

                                          ***WATER HEATERS***
                                          29-1/2 DIA
        2          2   SCSB12027SFEB3N    CCY 119G 27KW 480V 3PH WHTR ALUM                       5769.230    EA                  11538.46
                                          Serial # 116454113
                                          Serial # 116454114

                                          ***PANS***
                                          SQUARE PAN
        2          2   SHMDP263636        36X36 26GA DRN PAN                                       27.875    EA                     55.75

                                          ***RECIRC PUMPS***
        2          2   T007SF5            1/25HP SS FLG CART CIRC                                 290.620    EA                    581.24
        2          2   T110252SF          LF 1 FREEDOM FLG SET NPT SS                              40.275    EA                     80.55
        2          2   T2653              DIG TIMER W/ DUST CVR                                   136.800    EA                    273.60
                                                    Invoice Sub-Total                                                            12529.60
                                                    Tax                                                                           1033.69
                                                    Total Amt                                                                    13563.29



                                                                                      TOTAL DUE --->                             13563.29




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                                                             7426552                    368440                    1

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         FERGUSON ENTERPRISES LLC #61
         PO BOX 847411
         DALLAS, TX 75284-7411



 Sold To:                                                             Ship To:
         PANACHE DEVLPMNT & CONST INC                                      PANACHE DEVELOPEMENT
         AUSTIN VIIE                                                       3443 ED BLUESTEIN
         PO BOX 26539                                                      EIGHTFOLD DEVELOPMENT
         AUSTIN, TX 78755                                                  AUSTIN, TX 78721
Ship         Sell         Tax          Customer            Sales                 Job Name                    Invoice               Batch
Whse         Whse        Code        Order Number         Person                                               Date

 1869        1869        TX1869      EF100119TFF35         CRS          EIGHTFOLD DEVELOPMENT               10/07/2019            244752

Ordered      Shipped        Item Number                     Description                     Unit Price      UM                 Amount

                                          BUILDING F FLOORS 3 & 4
                                          MECH ROOM WATER HEATERS
                                          WATER SHELL COPPER

         8           8   PFXCCS55         LF 1-1/4 FIP X SWT DIELEC UNION                          12.470    EA                     99.76
         4           4   CTK              2 WROT CXCXC TEE 2-1/8 OD                                22.284    EA                     89.14
         4           4   CFRKF            2X3/4 WROT FTGXC RED                                     10.557    EA                     42.23
         4           4   CFRKH            2X1-1/4 WROT FTGXC RED                                    9.828    EA                     39.31
         2           2   CTKKG            2X2X1 WROT CXCXC TEE                                     17.359    EA                     34.72
         6           6   CUG              LF 1 WROT CXC UNION                                      12.418    EA                     74.51
         4           4   FNWX416G         LF 1 BRS 600# WOG 2PC SWT FP BV                          13.844    EA                     55.38
         2           2   PFX31SG          LF 1 BRS 125# SWT SWG CHK VLV                            13.696    EA                     27.39
         2           2   CTG              1 WROT CXCXC TEE 1-1/8 OD                                 6.727    EA                     13.45
         2           2   FNWXBTWN         LFN 3-1/2 BRS ECON THRM WELL                             21.096    EA                     42.19
         2           2   FNW9S30240AT     9 30-240 ADJ ANG THRM                                    49.264    EA                     98.53
         4           4   CTGGF            1X1X3/4 WROT CXCXC TEE                                    6.881    EA                     27.52
         2           2   FNWX416J         LF 1-1/2 BRS 600# WOG 2PC SWT FP BV                      32.348    EA                     64.70
         2           2   CTKKG            2X2X1 WROT CXCXC TEE                                     17.359    EA                     34.72
         6           6   CMAG             1 WROT CXM ADPT                                           4.889    EA                     29.33
         2           2   PFXT12           LF 4.4 GAL THRML EXP TANK                                38.112    EA                     76.22
         4           4   CFAF             3/4 WROT CXF ADPT                                         2.484    EA                      9.94
         2           2   WLFN36M1F        LF 3/4 VAC REL VLV                                        7.462    EA                     14.92
        10          10   C9F              3/4 WROT CXC 90 ELL 7/8 OD                                1.222    EA                     12.22
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                                               Number            27 of 27
                                                              Customer    Page


                                                      7426552              368440                  2


Ordered    Shipped       Item Number                       Description              Unit Price     UM      Amount
       2          2   CRCGF            1X3/4 WROT CXC RED COUP                             2.648   EA            5.30
       2          2   CFRJH            1-1/2X1-1/4 WROT FTGXC RED                          5.220   EA           10.44
                                                   Invoice Sub-Total                                            901.92
                                                  Tax                                                            74.40
                                                  Total Amt                                                     976.32



                                                                             TOTAL DUE --->                     976.32




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